cia 20 APPO]NTMENT OF AND AUTHORITY '1‘0 PAY COURT APPoiNTEi) COUNSEL DO (§Pl | j_ C,OJD d

 

 

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TNW Aston, Regina
3. MAG. onT./DEF. NUMBER 4. nis”r. DKT.mEF. NUMBF.R s. APPEALS DKT.n)EF. NLMBER s. THF,R DKT. NUMBI~:R
1:03-010104_002 1@/3’,/)1@ -/OOQ
7. IN CASF_!MATTER or rem Nrrr..») 34 PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED 10. n£§ilzrli;:ls;£t:;rn.;\)TtoN "i'YPE
U‘S. v. Seay Other O[her.' Witness

 

ll. OFFENSE{S) CHARGED {Cite U.S. COdE, Till€* 3d SEC\iOt'l) l[more than one ol‘lense, list (i.ip to |`ive) major offenses charged. according to severity of offense.

 

12. ATTORNEY'S NAME lFirst Name, M.l., Last Name. including any sul'l'ix)
AND MAILING ADDRESS

Finney, Lowe
213 E. Lafa etre
Jacksc)n T 38301

'l`€i€phone Ni.iiiiher: (731) 424‘2 l 51

 

14. .\'AME A_\'D MAILING ADDRESS OF LAW FIRMlonly provide per instr'iiction$)

Hardee, Martinn Dauster and Donahoc PA
213 E Lafayette Street

 

13. COURT ORDER

§ 0 Appointing Cou nsel m C Co~Counsel
m F Siihs For Fedei~.il Del`onder t:] ll Subs Fur Retained .-\ttorney
i:\ P Suhs For Panel Attomey I:i Y Stanith_v Counse|

}’rioi' Atturney`§ Name:

 

Appointmenl Date:

m Becallse the above-named person represented has testified under oath ur has
otherwise satisfied this court that he or she (]) is financially unable to employ counsel and
tll does not wish to waive cniinse|, and because the interests ofjustire so require, the

~ e name nppeais in item 12 is appointed to represent this person in this case,

    

attorney -
or
m t t

 

 

   

» rrrestding indicia onarrr rrr ny order urine court

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

representation? :| YES NO ll yes, give details on additional sheets.
l swear or affirm the truth or correctness ot' the above statements

Si nature ofAtt rney'

Other than lruni the court, have you, or to your knowledge has anyone elsel received payment (rompens

ation or anything or vii|uc) front any other source in conneeii

Datvol Order Nunc Pru Tiinc Date
Repayment or partial repayment ordered I`rom the person represented for this service sit
time of appointmem. |] YF.S E NO
TOTAL MATllfl`EClI MATl-L'TECH t ,
, _ . . . . `. IIOURS r 1 .»\DDI'I lOi\.-\L
CA FEGOR|ES (AItaLh itemization 0|` services with dates} AMOUINT ADJUSTED AD,]U!>TED , ,
CLMMED CLAIMED norms AMOUNT RE‘ 'E“
15. a. Arraignment and!or Ple.a
b. Bail and Detention Hearings
c. Motion Hearings
l'] d. Triai , ,
C e. Seritencing Hearings
3 t`. Revocation Hearings §
§ g. Appeals Court
h. Othei' (Spe.cit`y on additional sheets}
(Rote per hour = $ l TOTALS:
!o. ti. Interviews and Conferciices '
0 . . . .
111 b. Obtaimng and reviewing records
0 c. Legat research and brief writing
l .
C d. Travel time
U" e. Investigative and Other work isperary orr additional sham 4
r
‘ mate per hour = s § TOTALS:
17. Travel Expenses (lodgi‘ng, parking. meats, mitcage, etc.]
18, Other Expenses tother than expert, transcripts. etc.)
19. CERTIFECATION OF A'l`T~ORNEY/PAYEE FOR ']`HE PER]OD OF SERVICE 20. APPOINTMENT TERMINATION DATE 21. CASE DlSPOB`](),\`
iF orman THAN CASE cOMPLF.Ti<)N C") ~ 1
FROM m ;T_ 01 .-_=
J.'_-:'.:_' 1
ll CLAIM STATUS [:l Fmai Pa_vment .:i interim Payment Niimlier _,M_ ij Supp|emeotal Payment l`_:’]-r"" _ ]
llave you previously applied to the court for compensation and.for remimbursem¢nt for this rase? [:] YES ij NO H yes‘ were you paid'? [] YE_S'~} CM`_'f,-_Kr _

 

 

 

24. OUT OF COUR'I` C()MP.

 

IN COUR'|` C()M P.

  

 

25. TRAVEL EXPENSES

   

  

26. OTHER EXPENSES

  

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lS. SIGNATURE ()F THE PRESIDING JL`DICIAL OFFlCER DATE 281 JIJDGE r' MAC. jl’DGE COT)E
29. IN COURT COMP. 30. OUT OF COURT (IOMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 331 ‘l`OTAL AMT. APPROVED
34. SIG:\'ATURE OF CHIEF ,]UDGE, COURT {)F APPFIAL.S tOR DELEGA']`E]Paymenl DATE 343. Jl'DGE (`ODE
approved in excess of the statutory threshold omount.

 

 

 

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ISTRICT C URT - WESTERNDT"ISIC OF TENNESSEE

Notice of Distribution

ThiS notice confirms a copy ofthc document docketed as number 3 in
case 1:05-MC-0]008 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listcd.

 

LoWe Finney

Hardee & Martin

213 East Lafayette Street
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

